                       Case 3:15-cr-02178-JM        Document 29                             Filed 09/17/15                    PageID.54   Page 1 of 1



                                           UNITED STATES DISTRICT COURT
                                         SOUTBBRN DISTRICT, , OF , CALIFORNIA


                  UNITED STATES OF AMERICA,                                                 CASE NO. 15cr2178-JM

                                           Plaintiff,
                                 vs.                                                        JUDGMBN'l OF DISMISSAL
                  BERTHA VARGAS-VILLA,

                                           Defendant.


                            IT APPEARING that the defendant is now entitled to be discharged
                  for the reason that:

                       an indictment has been filed in ahother - case against the defendant and
                       the , Court has grantectthe motion of ,the G()verrun~l1tfor dismissal of
                       this - case, Without prejuciiceror
                                             '" . .' ., ~ ... .       ..- ' . .. .'.        :   " ,




                      , the Court has dismissed: the'1a'se~o:r: ' unnecessa'ry 'delay; or
                                                                                                                              •.. .

                  ~ the Court , has grantedthemo't ,i,o n' bf ,t~~ " Gbve'rnmePt for dismissal,
                       ,without prejudice;o~

                        the Court has granted the mot,i ono.f the defendant fora judgment of
                      " acquittal ;'. o.iz> ' ,: '
                                            :   ,            ".
                      " a jury has been wad.v~d,: and Ute -co~~t ,has , found th~defendant not
     .. ..,
      ~

                        guilty;' or

                       the jurY' has rettirrte'd itsver'd ict,: fin,~i~'~ the ' defendant not, guilty;

                  _X_ of the offense (s), as charged in the Ihdictment/Information: '

                       21: 952 and:- '9:6Q,:.. Unlawful IitiE6i:tat~ori of aCont.r:~11edSubstance '
                                                                               ,,':    ."
     ".~   .. ,
                                                                                                :. ,   .' .   .:.



                             IT IS THEREFORE ADJUDG'EO' ,t hat t ,h e de'fenda'nt is hereby discharged~


                   DATED: 9/17/2015'"                                                                         , L~
                                                                                                                ~ >· cr
                                                                                                                      Q
~"     ..                           ..               "   .        ,
                                                                                             -viilliam V. ' Gallo
                                   -,' flEEt)':                                             - 0,. $. ' Mag'istrate Judge
                                                                                                              )   .... .. .
                                         S£P ;17'lQ\5
